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                      EXHIBIT A
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November 22, 2024

Via Email
(scratchswquare@gmail.com)

Debora LoFranco
Devora Enterprise dba De’ Vora
145 E. Delilah Rd
Pleasantville, NJ 08232

Re: Amazon Complaint for Alleged Patent Infringement of U.S. Patent No. 11,930,789
Complaint ID: 16509328131
ASIN: B0DB9Q5GDJ
Our File: P00190HHF

Dear Ms. LoFranco,

We represent HHF Collective LLC, the seller of the Dog Nail Scratch Board (ASIN:
B0DB9Q5GDJ) that was recently delisted due to a complaint (Complaint ID:
16509328131) filed by you for alleged patent infringement of U.S. Patent No.
11,930,789 (“the ‘789 Patent”). We respectfully demand immediate withdrawal of the
Complaint for reinstatement of our client’s product listing, as its product does not
infringe any claim of the ‘789 Patent, either literally or under the doctrine of equivalents.

I. Background

The '789 Patent pertains to a specific pet toy design with particular features outlined in
its claims. The ‘789 Patent includes two independent claims, Claim 1 and Claim 18.
Our client’s Dog Nail Scratch Board (“Accused Product”) is a pet grooming tool
designed to help pets naturally file their nails. The images below provide a side-by-side
comparison of Figure 1 of the ‘789 Patent and the Accused Product.




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               Patented Device                                    Accused Product

Upon a thorough analysis of the claims as set forth below, it is clear that the Accused
Product does not incorporate the patented features as claimed in the '789 Patent and
therefore does not infringe the ‘789 Patent.

II. Legal Analysis

To establish patent infringement, every limitation set forth in at least one independent
claim must be found in the Accused Product, either literally or under the doctrine of
equivalents. (See Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29
(1997)).

A. Literal Infringement

Literal infringement requires that the Accused Product contain each and every element
of the claim exactly. (Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1575
(Fed. Cir. 1995)).

B. Doctrine of Equivalents

Under the doctrine of equivalents, the Accused Product may infringe if it performs
substantially the same function in substantially the same way to achieve substantially
the same result as the claimed invention. (Graver Tank & Mfg. Co. v. Linde Air Prods.
Co., 339 U.S. 605, 608 (1950)). Furthermore, prosecution history estoppel prevents
expanding the scope of the claims to cover the Accused Product, as elements material




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to the patentability of the '789 Patent were amended to overcome cited prior art. (Festo
Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 733 (2002)).

III. Claim Analysis and Comparison

To demonstrate the absence of infringement, we have prepared a detailed claim chart
comparing each element of the independent claims (Claims 1 and 18) of the '789 Patent
with the features of the Accused Product.

Claim Charts Comparing U.S. Patent No. 11,930,789 and the Accused Product

Claim 1 of the '789 Patent

                                  Presence in
Claim Element                     Accused                   Explanation
                                  Product
A pet toy comprising: a
body having an upper
                                  Present at least Accused Product has a body with a top side,
face, a lower face, a top
                                  in part          a bottom side, a left side, and a right side.
side, a bottom side, a left
side, and a right side
At least one of the upper
face and the lower face
                                  Present at least Accused Product includes an abrasive
having: a pad surface for
                                  in part          material.
adhering an abrasive
material
And one or more
substantially circular                                  Accused Product does not have any scent
scent cavities configured         Not Present           cavities or features for receiving scent
to receive a scent                                      materials.
material
The body having an                                      Accused Product has an internal central
                                  Present
internal central cavity                                 cavity.
At least one aperture
formed in the body for                                  Accused Product has an aperture for
                                  Present
accessing the internal                                  accessing the internal central cavity.
central cavity
At least one handle,
made of an elastic
                                                        Accused Product does not have any handles
material, extending from          Not Present
                                                        made of elastic material or otherwise.
the group consisting of
the top side, the bottom


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side, the left side, and the
right side of the body for
grasping the pet toy
Wherein the handle
includes a plurality of
grooves sized and
                                                        Accused Product does not have any such
positioned to be                  Not Present
                                                        handle or grooves.
contacted by pet teeth
and configured to clean
the pet teeth.


Claim 18 of the '789 Patent

                                  Presence in
Claim Element                     Accused                   Explanation
                                  Product
A pet toy comprising: a
body having an upper
                                  Present at least Accused Product has a body with a top side,
face, a lower face, a top
                                  in part          a bottom side, a left side, and a right side.
side, a bottom side, a left
side, and a right side
At least one of the upper
face and the lower face
                                  Present at least Accused Product includes an abrasive
including: a pad surface
                                  in part          material.
for adhering an abrasive
material
And a guard projection
extending in a
perpendicular direction
with respect to the pad
                                                        Accused Product does not have any guard
surface and configured to         Not Present
                                                        projection as described.
prevent the abrasive
material from contacting a
flat surface upon which
the pet toy is placed
The body having an                                      Accused Product has an internal central
                                  Present
internal central cavity                                 cavity.
At least one aperture
formed in the body for                                  Accused Product has an aperture for
                                  Present
accessing the internal                                  accessing the internal central cavity.
central cavity


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At least one handle
extending from the group
consisting of the top side,
the bottom side, the left         Not Present           Accused Product does not have any handles.
side, and the right side of
the body for grasping the
pet toy.

As demonstrated in the claim charts above, the Accused Product lacks several critical
elements of both independent claims 1 and 18 of the ‘789 Patent and therefore does not
literally infringe the claims of the ‘789 Patent. Specifically:

     • Scent Cavities: The Accused Product does not have any substantially circular
       scent cavities configured to receive a scent material.

     • Handles or Handles with Grooves: The Accused Product does not have any
       handles, let alone handles with grooves designed for pet teeth cleaning.

     • Guard Projection: The Accused Product lacks any guard projection extending
       perpendicularly from the pad surface.

Moreover, the absence of the above elements cannot be considered insubstantial
differences. The scent cavities, handles, handles with grooves for teeth cleaning, and
guard projection are significant features that contribute to the patented invention’s
functionality. The Accused Product operates differently and does not achieve the same
results as intended by these specific claim elements. Therefore, the Accused Product
does not infringe the claims of the ‘789 Patent under the doctrine of equivalents.

IV. Demand

Given the substantial differences between our client’s Dog Nail Scratch Board of the
Accused Product and the claims of the '789 Patent, there is no infringement under U.S.
patent law and no good faith basis for having filed the Amazon Complaint. Therefore,
we demand that you immediately withdrawal of the Amazon Complaint against the
product listing for ASIN B0DB9Q5GDJ. Please note that as a result of the filing of
Complaint, our client has suffered damages in the form of lost sales, which continue to
accrue. Should you fail to withdraw the Amazon Complaint as demanded herein, our
client is prepared to take whatever legal action may be necessary.




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Please let us know by close of business on Wednesday, November 27, 2024, if you
agree to comply with the demand set forth above. Any such reply to this letter should
be directed to the undersigned attorney via email. If you are represented by counsel,
we ask that you promptly forward a copy of this letter to them.

Best Regards,



Frank W. Compagni
frankc@primetrademarkservices.com




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